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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Vortex, Inc.
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:22−cv−04189
                                                                    Honorable Lindsay C.
                                                                    Jenkins
The Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 5, 2023:


         MINUTE entry before the Honorable Lindsay C. Jenkins: For the reasons stated in
the attached Order, the Court enters and continues Vortex's motion for execution [52]. The
Court directs the parties to confer regarding the topics the Court has requested more
information on and to file a joint status report by October 19, 2023, indicating the parties'
positions on these issues, whether the parties need additional time to prepare substantive
responses to the Court's questions, and, if applicable, proposing a schedule for further
in−person proceedings on Vortex's motion. If there are matters beyond the scope of the
Court's requests that the parties wish to address in their status report or in supplemental
filings, they should request leave to do so. Mailed notice. (jlj, )




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